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   EXHIBIT A
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                                     THE UNIVERSITY OF THE STATE OF NEW YORK
                             THE STATE EDUCATION DEPARTMENT

    REQUEST FOR RELIGIOUS EXEMPTION TO IMMUNIZATION FORM
                                     PARENT/GUARDMN STATEMENT

 Name of Student I

 Identification. Number

 Name ofParent(s)/Guardia.n(s)^

 School District and Building Name V-^ ^ ^(^,>ey^~^-\/<7 —T^{<-lc?~ltl>

 This form is for your use m applying for a religious exemption to Public Health Law immunization
 requirements for your child. Its purpose is to establish the religious basis for your request since the
 State permits exemptions on the basis of a sincere religious belief. Philosophical, political,
 scientific, or sociological objections to urununiz&tion do not justify an exemption under Department
 of Health regulation 10 NYCRR, Section 66-1,3 (d), which requires the submission of:
         A written and signed statement from the parent, parents, or guardian of such child, stating
         that the parent, parents or guardian objects to their child's unmanization due to sincere and
         genuine religious beliefs which prohibit the immunization of their child in which case the
         principal or person in charge may require supporting documents.

 In the area provided below, please write your statement. The statement must address all of the
 following elements:
     • Explain in your ovm words why you are requesting tills religious exemption.
     » Describe the religious principles that gmde your objection to itnmunization.
     < Indicate whether you are opposed to all immunizations, and if not, the religious basis that
        prohibits particular immunizations.

 You may attach to this form additional written pages or other supporting materials if you so choose.
 Examples of such materials are listed on page 3.

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                                                                          Please continue your statement on page 2
March 2006
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 Request for Religious lixemption to Immunizntion Form ('continued) Page 3 of 4
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                SECTION BELOW FOR SCHOOL DISTRICT USE ONLY

 To the Building Principal:
 If, after review of the parental statement, questions remain about the existence of a sincerely held
 religious belief, Department of Health regulation [10 NYCRR, Section 66-.L3(d)] permits the
 principal to request supporting documents. Some examples include:

              a A letter j&om an authorized representative of the church, temple, religious institution,
                  etc. attended by the parenVguardian, literature from the church, temple, religious
                  institution, etc. explaining doctrin^eUefs that prohibit immuDization (Note:
                 Parents/guardians need not necessarily be a member of an organized religion or
                  cejigious institution to obtain a religious exemption);
              • Other writings or sources upon which the paient/guardian reiied in fonnulatuig
                 religious beliefs that prohibit unmunization;
              • A copy of any paxental/guardian statements to healthcare providers or school district
                 officials in a district of prior residence explaming the religious basis for refusing
                 immunization;
              o Aay documents or other jnfonnation the parent/guardian may be willing to provide
                 that reflect a sincerely held religious objection to immunization (for example:
                 disclosure of whether parent/guardian or other children liave been immunjzed,
                 parent/guardian's current position on allowmg himself or herself or his or her children
                 to receive or refuse other kinds ofmedical^reatment.)
                                                           /     //   '   y



 Reviewer Name (Building Principal) _f/^6{^^'
                                              ^S^LW^ ^{LGWSi
 Indicate Result of Request Review:



          APPROVED^OS
                    DafeofABDroval"
                      Date of Approval SE(1 "m

          DENIED Q Date of Denial


 State Specifically Reason(s) for Denial:




\-lwvh 2006
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  Request for Religious Exemption to Immuuizatio.n Form-Parent/Gvardian Statement (continued)                       Page 2 of 4
  ^'




  Please sign in the space provided below and have the document notarized by a notary public where
  indicated,
  I hereby affirm the b-utlrfulness of the forgoing statement and have received and reviewed the
  informational immunization materials provided to me by my child's school.



                                                                               ?-37-./L
            Signnhire ofParent/Guardiau                                               Date


  Sworn to before m.e thi-Sj^J                                         day ofSi^^obdL

                  C ,-^^^^^v ^%^i^x                                                 -A&i^/A^—i'S^ a^unaurilitaaCtjBi'ai,,

                                                                             SHANNON M QLUEGKERT
  Notary Public Seal                                                      Notary Putitle - Slata of Kew York
                                                                                 N0.01GL6158117 f
                                                                             Qualified In Suffolk Couniy (
                                                                        My Commission Expires Dec 18,201 a ;•''
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   You will be notified in writing of the outcome of this request. Please note that if your request for an
   exemption is denied, you may appeal fhe denial to the Commissioner of Education within thirty (30)
   days of the decision, pursuant to Education Law, Section 310.
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                                                                              September 26, 2016

      Kristin Tillona Baker           Brian Biscari, Principal
      The Knox School                 Minnesauke Elementary School
      541 Long Beach Road             21 High Gate Drive
      St. James, NY 11780             East Setauket, NY 11733



      Dear Principals Baker and Biscari,

      I'm grateful that I had been given sufficient time to draft this affidavit statement. It had
      taken me some weeks to complete it, and I hope it provides you with insight into who I
      am as a person, a mother and a Jew.


      Tliat of course, is the reason for this correspondence. To a;      for, and G-d willing,
      have my religious exemption granted for ray son |                     ITIOW in 11 grade,
      and my daughterBBBBB^Bwho's in 6 grade

      That's because I had come to realize, very belatedly, that the medical practice of
      vaccination contradicts cenlnil precepts in Ju^fiJa^,! Belatedly, I say, because by that
      point in time— October 2012— bot.h H a"C^BIBBWere falty vacdnated for their age
      group. Writing this statement is something I'd imagmed I'd be doing since 2012, but
      there wasn't any pressure to do so because neither of them were lacking any shots. But
      now,^^^Bs (i.e. her last DTaP booster)

      While I mention both of them, this statement really comes down to my religious beliefs,
      inasmuch as exemption status, when granted, is conferred upon parents for their
      beliefs—not their children's, For that reason, it seemed most practical to present my
      beliefs in this all-inclusive document on behalf of each of them, regardless oF grade
      level of vaccine status.


      That is why I pray that you will understand my concerns about vaccination—which are
      solely based upon my interpretations of Mosaic 'Law and the Tordh, and whose
      commandments I was raised to follow—is so antithetical to Judaism that it had forced
      me to make the fateful decision to discontinue all vaccinations, thanks to that pivotal
      discussion I had with^^B my son's tutor, in 2012,

      It has indeed been the Torah and Jewish faith traditions and values that has been a
      guiding force .in my life, and ultimately, behind my decision to refrain from all
      vaccinations, I assume that most Rabbis and Rabbinical scholars, and most Jews today,
      accept vaccination. But it is well within the Talmudic tradition for any Jew to question
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 generally accepted secular practices in society in the context of Jewish law and
 tradition,


 And that is precisely the reasoTi for this statement—to explain my understanding of the
 Bible and Jewish law and tradition, and how 1 came to this understanding with respect
 to specific aspects of vaccination—two oi'which I will identify later in this statement.

 My Life Experience as a Jew

 That understanding, and influence on my life, had begun a ve.ry long tune ago for me.
 I'm a practicing Jew, raised by two Jewish parents. My parents were not deeply
 religious people, but throughout my life they have instilled in me a deep cultural Jewish
 identity. During my childhood, my family would observe Jewish holidays and I would
 attend temple with my mother.

 From a young age, I was curious about the tenets of Judaism. Despite the fact that my
 mother was not an extremely observant person, her grandfather was a rabbi and she
 could easily answer my questions and satisfy my queries. As I grew, I asked to go to
 Hebrew school and my parents obliged. I was an active teen member of my synagogue,
 Temple Beth Shalom in Smithtown, participating in youth groups and Friday night
 services.


 Upon request, my parents sent me to Jewish summer camps and I was a member of a
 national Jewish sorority in cojlege, I was always seeking a deeper understanding of
 Jewish law. la coUege I took several Jewish studies classes and continued my
 observation of the Jewish faith into adulthood. I married a Jewish man and we have
 raised our children in a culturally rich Jewish eaviromnent,

 My sons^^^andj^Battended Jewish nursery schools and Hebrew school. They
 became Bar Mitzvahs upon their 13th birthdays and my daughter,B^B is currently
 studying at the Chabad Hebrew School. I am very close with^^B one of the
 Rabitzens at the Chabad. I often make cfiallah with her and we meet for inspirational
 talks. She has become a spiritual beacon who has helped reunite me with my belief in
 0-d.


 You see, 2010 was a particularly trying year for my family, My son> ^B literally woke
 up one day a different kid. He started manifesting psychological symptoms of
 generalized anxiety, OCD and rages. We didn't know what' was happening, but we
 knew something wag wrong. It was very stressfuj throughout the summer and into the
 fall. We just couldn't get answers.


 Then, in October of that year, my parents visited Israel on a "once in a lifetime" tour. A
 few days after they left, we received a phone call from my mother telling us my father
 was in the hospital with a virus that triggered pneumonia. Witliin 3 days he was on. a
 ventilator and shortly thereafter on life support. My sisters and I travelled to Israel to
 support my mother. We arranged to have my father medi-vacked back to NY where he
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died a few days later. Needless to say, T was devastated. How could my 0-d let this
happen in the Holy Land? How couJkl G-d let tins liappen to my life? My father was
gone, my child was sick and I was distraught.

I believed in G-d my whole life. Historically throughout time, in the most challenging
of times the Jewish people always turned to G-d in prayer and put their faith and trust m
0-d. In Psalms 31: 1, "In you, 0 Lord, I put my trust: let me never be ashamed; deliver
me in your righteojtsness." However, for me, the tragedies that were being bestowed
upon my family were too much. I began to vera. away from my religious beliefs and for
a period of time questioned my faith in G-d.

I spoke with. a Rabbi who explained that grappling with issues of G-d and faith is
central to Judaism. It is an expected, encouraged experience. The very essence of the
Tahnud is the questioning of the relevance and application of scripture to our lives with
a strong faith and trust in G-d. He suggested I take a step back, gdeve, and question. I
took his advice. I continued my cultural observance, but took a step back and started
questioning where G"d fit into my life. It wasn't until it was time for my son,^^^Bar
Mitzvah preparation that I began to find my way back,

Turnabout on Vaccination

I mentioned there was a turning point jn my understanding of vaccines and vajccination.

It was 2012 andBBwas still struggling. We were gelling him the best psychological
help available, but'tlungs still had not returned to baseline, '^^yjggded to prep him for
his Bar Mitzvah, so we hired a tutor, Thfi tutor's name was^^B She was an amazing
Jewish educator who understood my need to reconcile what happened to my son and my
father and my faith.

We talked about how one of the special things about Judaism is chat inlrospection,
questioning, and continuous learning is celebrated in the Torah, as well as theTalmud.
Searching and skepticism is often what brings us to a deeper level of understanding and
thus enable us to worship more devoutly, —^elped me answer some hard questions,
restore my faith in G-d, and become a more impassioned believer. She also was the
catalyst to my questioning vacumes,

      and I .had many discussions relating to Jewish doctrine and secular laws. One day
in October, 201.2, she and I were talking about vaccines and the reasons Jewish parents
choose not to vaccinate. Up to that time my children were fully vaccinated, but .1 was
starting to question how vaccines fit in to Jewish practice. After this discussion, I
decided to do my own research and ultimately decided to stop vaccinating my children,

Meanwhile, after his Bar Mitzvah,^Bccmtmued to struggle. We kept digging for
answers both medically and spiritually. Finally in 2014/2015,^BWas diagnosed with
Neurological lyme disease and PANS. This Hlness is what was triggering the
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.autoimmune enceplialitis tliat was causing his psychological issues! Nearly two years
 into treatment he is recovering weU and continues Co improve every day.

In 2015,^^Bwas also evaluated and- found to have a similar rrnmune condition to
|^B though her immune system was much slronger and she was not roanifestine the
same symptoms as of yet. Their doctor advised against vaccinations for^Band
due to their immune cojaditions. However, fhis is not th6 reason for my withh.oldmg'
 vaccines at this time. The decision had been made several years earlier.

The past 6 years has been very dt'fficult for our family, particularly the past 2, when
medical conditions presented daily challenges. Fortunately, about 3 years ago we joined
a new CQBgregation, Stony Brook Chabad. I quickly forged a close friendshJp with
        a Rabitzen in the Chabad. My relationship with|^^|is fulFiUing on a spiritual
and philosophicHl level. She provides great support and understanding relating to the
medical issues my children deal with and helps me reconcile how G-d will help me
through my personal suffering. She inspires me to accept G-d and seek his strength and
guidance through challenging times.

I wrote earlier that there are two salient reasons I discontinued vaccinations.

"For I Am G-d Who Heals You"

Vaccines are a currently controversial for many reasons. The state mandated vaccine
schedule is abundant and issues sunrounding their safety has come to the forefront.
Living in the Three Village Community, this issue is impossible to ignore. Many of our
neighbors have children with special needs. When your children are suffering, people
begin to question and discus plausible reasons for their children's medical and
behavioral sufferings. It would be impossible to live here and not to speak with parents
on their opinions about vaccinations.

I'm somewhat familiar with issues concerning alleged vaccine injury, the supposed
links between vaccines and autism. They never won me over, but then I never paid that
much study to them in the first place. However, while I understand axid respect the
medical concerns of some parents, my conuems about vaccinations run deeper and
along a more spiritual plane. My concerns arose, as I staled, following my meeting with
Sun-y, and they stem from an overarching theological belief that vaccinations are wrong
for rny children.

One deep rooted belief Js that one's health and well-being are given to us by 0--d and
mankind should not tamper with the health that is given us. Essentially our bodies are
"on loan" from G-d mid therefore, according to Maimonides, we must avoid anything
that may harm the body. The Torah tells us that our health and happiness is equal to our
faith in G-d and His comroandments, A daily blessing reads, "Blessed are you our G-d
who heal'i all flesh and acts wowlrously." We see from here that we must trust in G-d to
 keep us healthy.
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G-d is the only one that can prevent sickness. "You shall worship G-d, your G-d, and
He shall bless your bread and your water, and I sfuill remove llbiess from your muist."
(Exodus 23:25) The Torah tells us: "All the diseases which [afflicted on Egypt I will
not afflict upon you for 1 am G-d who heals you." (Exodus 15:26) I interpret this to
mean that G-d, is my healer and aJl my faith must be placed in him. If I live my life
according to 0-d's commandments, health will be bestowed upon my family.

Medically interfering and injecting my children with a vaccine forces the abandonment
of my covenant with G-d and belies commitment to Us teachings. Vaccinating my
children would be putting faith in the vaccine rather tlian in G-d and His power. This is
supported in the following verse; "/ am the Lord thy G-d, who brought thee out of the
land of Egypt, out of the house of bondage. Tlwi shdlt have no other gods before Me."
(Exodus 20:2)

Vaccination is a form ofidolatry and diminishes the faith I have in G-d's wisdom and
perfect creation of humankind. Vacc.inatioxis portray an idolatrous obsession of fear of
illness which reveals a lack of faith that G-d is the creator of life and heaier of mankind.
This does not ring true for me. There is but one G-d.

From that vaunted platform, vaccities are often flaunted as saviors, as modem day
.miracles, and our society invests enormous amounts of faith m them. From my
perspective, this modem "faith" in vaccines has repjaced faith in G~d, and has thus
become a false [dot. The Torah teaches us to not listen to false prophets: "''If a prophet
or a, dreamer of dreams arises among you and gives you a sign or a. wonder, and the
sign or wonder that he tells you comes to pass, and if he says, 'Let its go after other
gods,' which you have net known, 'ami let us serve them,' you shall not listen to the
wards of that prophet or that dreamer of dreams. For t}ie Lord your G-d is testing you,
to know wlwther you love the Lord your G-d. with ail your iieart and all your soul.'"
(Deuteronomy 13:1-10).

Thus, 1 came to realize chat the practice of vaccination undermines faith itself, far more
than any other secular undertaking. There is nothing wrong with modem medicine per
se. But as a Jew, I see vaccination specifically as the overreaching exception, to alter
our blood with prohibited material (see later section), and with the hauteur of
supposedly saving the human race. "Trust in tlw Lord wth all your heart. And rely not
on your own wisdom. In all your ways acknowledge him, and he shall direct yourpatfu:
Re wse not: in your own eyes; revere the Lord and depart, from evil. It shall be healing
to yourflesfi, and marrow to your bones." (Proverbs 3:5-8)

Mandated vaccines for the purposes of keeping our children safe and healthy implies
chat G-d somehow made us imperfect and now we need vaccine to correct that mistake.
We are told that human beings are now the new Creator apprentices who understand
how to eradicate disease. Thus, accepting vaccmations would amount to an idohtrous
obsession based in t'ear of illness and would, therefore, show a lack of belief and trust in
G-<1, violating a very basic tent of Judaism.
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 Vaccines are made of hio-organic ajid attenuated infectious disease agents that are
 injected directly into a person's bloodstream. I support t'he Torah teachings that "You
 are !.o sanctijy yourselves and yon shall become holy for 1 am Iw'ly. You. shall not make
 your souls impure" (Leviticus 22:45) However, while it is my duty to reject these
 impunties and keep the soul pure, this In. no way .negates the use of medicine to comfort
 or treat those who are ill or injured. Jews are commanded to do that.

 We are taught that salvation from disease and pestilence comes from faith- not by the
 facile act of rolling up one's sleeve. ttlfyon diligently heed Ifte voice of the Lord yonr G-
 d and do whut is right in hia sight, give ear to His Commiwdments and keep all His
 .statutes, I will put none of the diseases on you which 1 brought on the Egyptians. For I
 am the Lord who heals you," (Exodus 15:26)

 It is a given that vaccinations are not designed to treat those who are ill or injured.
 Rather, they are medical inventions/creadons that promise to eradicate disease itself.
 This is very different from the less emibitious conventional medicine used to alleviate
 pain or calm a fever or inflammation. "Those •who have the capacity to eliminate a
 \vrong and do not do so hear the responsibility for Us consequences," (Shabbat 54b)

 "No Person Among You Shall Eat Blood"

 After issues regarding vaccination were raised, I started to research, The CDC website
 as well as some of the vaccine companies' websites published information, sometimes
 in the form of vaccine package inserts, that listed the ingredients used to make the
 vaccine. 1 was surprised to see what was used to create the vaccines. Vaccines
 undisputedly contain viruses, fluids, cells, bacteria, human diploid cells and animal
 material, including,, but not limited to, blood products.

 I confirmed it by finding tills table by the CDC
 <http://www,cdc.gov/vaccmcs/pul3s/pinfcbook/dovvnloads/appendices/B/excipient-table-
 2,pd£> You can see there arc malerials from different species, including monkeys,
 chickens, cows, and pigs (pork gelatin). I also found something online called, "Are
 Blood Cells in Vaccines". I printed it for you as a guide. It's all really blood, since
 organs are essentially solidified blood.

 And the NYSED Commissioner also seemed convinced they reside in vaccmes, when
 he rendered a decision in favor of one parent who made that aliegatjon: Appeal of'N.C.
 vs. New York City Department of Education (Decision No. 16,805, August 3,2015)
 <http://www.counsel.nysed. gov/Decisions/volume55/d l6805>

 If vaccines were made up of chemicals already found in the huma.n blood like vitamins,
 sugars, antibiotics, etc,, then that would not be in conflict with, Jewish law. Jews are
 forbidden to consume blood as it is considered to be inseparable from spirit. It is also
 not to be taken as nouri.shment. Torah instructs that the sanctity of blood "Only he sure
 that thou eal not the blood; for blood in life; and thou mayesi iwl eat the life with the
 flesh" (Deuteronomy .12:23).
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 I beUevc that because vaccines are derived from these impure compounds, the mixing of
 vaccines and human blood is an issue in violation of G-d's teachings. Our blood is the
 essence of our being. There is no life without blood. Thus, it is essential that our blood
 stays holy and pure. Clearly vaccinating my (cids any further would defile their blood. It
 would defile their spirit. How can it "be good" 'for us to do something that was
 forbidden? It can't!

 Looking further, Torah also forbids us from consuming the blood ofanollier animal or
 person (Leviticus 17:10-12; Leviticus7:26-27; Leviticus 19:26; Deuteronomy 12:23-
 25). The Torah tells us that the embodiment of our souls is found in our blood
 (Leviticus .17:11; and the previously cited Deuteronomy 12:23). A key concept in
 Judaism is Hb'lzelem elohlm'1, meaning fchat we are created in the image of G-d and that,
 by extension, to defile our body is to defile G-d. Therein is the conflict. Because blood
 was not to be mixed. It must remain pure. This is done by not mixing it with other
 blood, and also not making our blood unclean.

 Not only does the bible warn us about placing these ancient poisons inside us, but our
 own sacred blood Ls' defried when the proteins and biological cellular components
 making up vaccines inevitably decompose in our bloodstreams. Vaccmes are made {rom
 humoral fluids of all kinds—proteins prone to decay in the absence ofdigestive
 enzymes not found in the blood. Smiply, the vaccine antigens are grown in blood cells.
 They are cultivated with many diseased animal cells from chicken embryos, canme and
 monkey kidney tissue, pig or horse blood, calf bovine serum and many other cocktails
 (rom different species as well as material from iinimEil and human blood. These
 substances then enter the blood stream and are an obstruction to the purity of our should
 and life.

 But the key issue is that blood of any creature, must not be consumed, so it stands L'o
 reason that it may certainly not be injected directly into our bodies. Doing so is a.
 joining of the uncleaa upon. the clean sanctified blood. Ttiere are no greater restrictions
 on unholy mixing then there are for blood. "You shall not eat anything with the blood:
 Neither shall you lisa enchaittment, nor observe times" (Levitcus 19:26) This law is so
 serious that even gentiles (non-Jews) were not allowed to eat the blood. "Therefore I
  have said To the people of Israel, No person ufnong yon shall eat blood, neither shall
 any stranger who sojourns among you, eat blood." (Leviticus 17:12) Additionally, no
 aoimals qualified as an. exception to the .law; "Moreover you shall eat no manner of
 blood, whetlier it be foul or of beast., in any of your dwellings," (Levitcus 7:26)

 We have limited time on ttus earth. If our bodies ajnd souls are given in pureness and
 sanctity, if we enrich our bodies through nourisiunent, iticludug healthy lifestyles and
 spiritual devotion, our soles will return in pureness and sanctity; "..you shall sanctify
 yowselves and you will be holy, for I am holy; and you shall not contaminate your souls
 through any teeming thing that creeps on the earth," (Levilicus 11:44) T.h.is means that
 any contammated substance that vaccines possesses arc forbidden and violates the
 Judaic law since "The life of fins fi is in the blood" (Leviticus 17:1.1). It is a sin to
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  introduce foreign, blood products and antigenic cellular material into an otherwise
  healthy body. It violates the basic precepts of Judaism.

  Along the same lines is the issue of vaccinations and DNA. Based upon my research, I
  believe that there are materials m some vaccinations that may cause DNA
  modifications, (Le. gene mutations in people). This is but another defiling of our bodies.
  Injection of such substances violates G-d's Law that clearly prohibits genetic
  engineering or use of its products. "Ye shall keep my statutes. Thou shall not let thy
  cattle gender with a diverse kind: thou shall 'not sow thy field with mingled seed: neither
  shall a garment mingled of linen and woolen come upon thee." (Leviticus 19:19)
  [njecting my children with a vaccine that contains DNA altering chemicals is against
  my beliefs. It alters who they are at their core and can cJhange their lives forever.

 There is contemporary Jewish writings EO support these spiritual postulates of the Torah
  equating spiritual well-being to that of the physical: "You may not in any way weaken
 your health or shorten your life. Only if the body is lisalthy is it an efficient mstrument
 /or tlie spirit's activity. ...Tlierefore you should avoid everything which. might possibly
  injure your health.... And the law asks you to be even more circiunspect in avoiding
  danger to life and limb than in the avoidance of other transgressions." (Rabbi Samson
  Raphael Hirsch, Horeb, Chapter 62, Section 428)

  For me, purity of blood is a embodiment of holiness. Vaccinating my children would be
  asking me to contaminate their blood and therefore injure themselves. Although the
  possibilities of adverse reactions of blood contaminations are unknown, I must abstain
  from hanning the body and trust in 0-d who created man in His perfect wisdom, 'The
  Lord brings death and makes alive; he brings down to the grave and raises up." (Samuel
  2:6)

  To close, thank you for taking the time to read and consider my request for religious
  exemption from vaccination. I realize that the desire to refrain from vaccination is out
  of the norm. However, it is my faith that prompts me to keep my children free of future
  mandated vaccinations and I cannot concede. I hope I have successfully conveyed that
  vacciiuitioa violates my sincere and heartfelt religious beliefs. I request that you kladly
  forward your written acknowledgment confirnimg acceptance of my religious
  exemption, as soon as possible. I would also ask that you keep my children's
  unvaccioated status privileged and confidential.



  Sincerely,

                                                  ^Xa"^^ -^o(\3^:c^_ OM^-^-^^

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                                                   -^(^2

            Qyallfi.-'.d in Suffolk Gaunt'/ i(.
    1 r/ly Commission Expires DBC 18,201» _ ^
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